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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                                )    Case No. 16 B 01335
                                                      )
NICHOLAS S. GOULETAS,                                 )    Chapter 7
                                                      )
                       Debtor.                        )    Hon. Timothy A. Barnes
                                                      )
                                                      )    Hearing Date and Time:
                                                      )     December 19, 2017
                                                      )     10:00 a.m.

                   OBJECTION TO MOTION OF ABBACLE, LLC, ET AL
                          TO MODIFY AUTOMATIC STAY

          Now comes American Invsco Corporation (“Objector”) by its attorney, Richard H.

Fimoff and for its objection to the Motion of ABBACLE, LLC et. al. (“Movants”), to

modify the automatic stay herein (“Motion”). Objector states as follows:

          1.     Movants ostensibly seek modification of the automatic stay to permit them to

proceed against the Debtor’s Business Entities in cases currently pending in Nevada courts.

Such relief is inappropriate for two independent reasons.

          2.     First, as a legal matter, the automatic stay does not bar any proceedings

against the Debtor’s Business Entities. Thus, Movants fail to identify how or why the

automatic stay applies to Debtor's Business Entities. Rather, the Motion simply assumes

the automatic stay applies.

          3.     However, section 362 of the Bankruptcy Code, by its express terms does not

apply to Debtor's Business Entities. Section 362(a)(2) reads:

                 “(a) Except as provided in subsection (b) of this section, a petition

          filed under section 301, 302, or 303 of this title, or an application filed under



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          section 5(a)(3) of the Securities Investor Protection Act of 1970, operates as

          a stay, applicable to all entities, of—

                        (2) the enforcement, against the debtor or against property of

          the estate, of a judgment obtained before the commencement of the case

          under this title;…”. 11U.S.C. §362(a)(2).

          Section 362 only enjoins actions against the debtor or against property of the estate.

          4.     Movants have no judgment that they seek to enforce against property of the

Debtor’s Bankruptcy Estate. Movants acknowledge in their Motion [Motion ¶10], that the

Trustee has abandoned the Bankruptcy Estate’s interest in the Debtor’s Business Entities.

[Dkt. No. 76]. Thus, the automatic stay does not prevent any action contemplated in the

Motion. Further, the Court has previously acknowledged that the automatic stay did not

prevent any proceedings against the Debtor’s Business Entities when it denied a protective

order with respect to a deposition of the Debtor on matters exclusively related to Business

Entities. [Dkt. No. 77]. Accordingly, no modification of the automatic stay is necessary or

appropriate and the Movants’ Motion should be denied.

          5.     Second, as a practical matter, the relief Movants seek is moot because the

legal proceedings referenced in the Motion have been fully resolved as to all of Debtor’s

Business Entities.       The litigation in Nevada state court, captioned Abbacle, LLC v.

American Invsco Corp., et al. (Eighth Judicial District Court, Case No. A-12-662999-C),

was dismissed against all defendants, except the Debtor personally. (See Exhibit “1”.1) No

appeal was taken from that dismissal.           As noted in the dismissal order, the Movants


          1
         Objector respectfully requests the Court take judicial notice of the Order Granting, in
Part, and Denying, in Part, Defendants’ Joint Motion to Dismiss Pursuant to NRCP 41(e), filed
September 11, 2017, attached hereto as Exhibit “1”.

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unsuccessfully argued that dismissal was inappropriate because the case had been stayed by

these bankruptcy proceedings, which, of course, was not the case.

          6.   Objector is particularly concerned, based on the language of the requested

relief, that Movants are seeking an order from this Court that suggests that the automatic

stay did apply in some respect to the Nevada litigation, and therefore could be improperly

used as a basis to challenge the Nevada state court’s dismissal order.

          7.   In the U.S. District Court, District of Nevada, case captioned Taddeo v.

American Invsco Corp., et al. (Case No. 2:12-cv-01110-APG-NJK), judgment has been

entered and the appeals therefrom have been dismissed. (See Exhibit “2” 2 and Exhibit

“3”.3) The other cases in the U.S. District Court, District of Nevada, captioned Courturier

v. American Invsco Corp., et al. (Case No. 2:12-cv-01104-APG-NJK), Edalatdju v.

American Invsco Corp., et al. (Case No. 2:12-cv-01106-APG-NJK), Heldt v. American

Invsco Corp., et al. (Case No. 2:12-cv-01107-APG-NJK), Kosa v. American Invsco Corp.,

et al. (Case No. 2:12-cv-01108-APG-NJK), and Kosa v. American Invsco Corp., et al.

(Case No. 2:12- cv -01111-APG-NJK), were consolidated for discovery and trial, and

summary judgment was granted in favor of American Invsco, Condominium Rental

Services, Inc., and Koval Flamingo, LLC. (See Exhibit “4”.4) The summary judgments




          2
          Objector respectfully requests the Court take judicial notice of the Second Amended
Judgment in a Civil Case, filed May 13, 2016, attached hereto as Exhibit “2”.
       3
          Objector respectfully requests the Court take judicial notice of the Order dismissing
appeals, filed May 5, 2017, attached hereto as Exhibit “3”.
       4
          Objector respectfully requests the Court take judicial notice of the Order granting
judgment, filed November 16, 2016, attached hereto as Exhibit “4”.

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were certified as final and appealable, but no appeal therefrom was taken. (See Exhibit

“5”.5)

          8.   Thus, Objector must disagree with Movants’ assertion that “the Nevada

courts are awaiting resolution of the bankruptcy matters to proceed against the (Debtor’s

Business Entities)” [Motion ¶6]. All of the cases referenced in Movants’ Motion have been

fully resolved as to the Debtor’s Business Entities. Objector is also unclear as to what

“judgment and enforcement of any judgments against the Debtor’s Business Entities” that

Movants seem to believe are stayed by these bankruptcy proceedings, particularly

considering certain Movants have previously engaged in efforts to collect on the judgments

entered in their favor. (See Dkt No. 77; see also Exhibit “6”.6). None of these cases are

awaiting resolution of any matter relating to Debtor’s Business Entities.            Accordingly,

there is no basis for the Court to grant the requested relief, and the Movants’ Motion must

be denied.

          9.   Movants also assert, and Objectors deny, that failure to modify the automatic

stay will cause Movants to “suffer irreparable injury, harm, and damage should it be

delayed in proceeding with the pending litigation in the Nevada cases.” [Motion ¶12]

However, Movants fails to say how or why they will suffer such harm. Based on the

Motion, Movants seem to believe (albeit incorrectly) that the Nevada cases been stayed

since at least February 2016 [Motion ¶9], so why are Movants now suddenly suffering




          5
         Objector respectfully requests the Court take judicial notice of the Order Certifying
Summary Judgments as Final and Appealable, filed November 16, 2016, attached hereto as
Exhibit “5”.
       6
         Objector respectfully requests the Court take judicial notice of the Certificate of Sale of
Real Property, filed November 29, 2016, attached hereto as Exhibit “6”. 

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some irreparable injury?      Movants have provided no facts to substantiate its claim of

irreparable injury, harm and damage.

          10.   Finally, it is particularly disingenuous that Movants now seek to modify the

automatic stay notwithstanding that they have been actively litigating these cases to

judgment during the pendency of Debtor’s case without any such modification. Exhibits 1-

6 were all entered in the Nevada litigation after the commencement of this case and without

modification of the automatic stay herein. Thus, it is absurd for Movants to now assert that

the automatic stay prevents them prosecuting the Nevada cases, when their actions over the

last two years clearly demonstrate that they did not believe that to be the case.

          WHEREFORE, American Invsco Corporation respectfully requests that this Court

enter an Order denying the Motion of Abbacle, LLC, et. al, seeking to modify the

automatic stay herein, finding that the Debtor’s Business Entities are not subject to the

automatic stay, finding that such relief is moot and granting American Invsco Corporation

such other, further, and different relief as this Court deems just and proper.


                                     Respectfully submitted,
                                     American Invsco Corporation


                                     By:    /s/Richard H. Fimoff
                                                One of its attorneys




          Richard H. Fimoff (804886)
          Robbins, Salomon & Patt, Ltd.
          180 North LaSalle Street, Suite 3300
          Chicago, Illinois 60601
          (312) 782-9000
          rfimoff@rsplaw.com


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                              EXHIBIT 1
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                                                                   Steven D. Grierson
                                                                   CLERK OF THE COURT




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                              EXHIBIT 2
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                                 UNITED STATES DISTRICT COURT
                                                                                                 Nevada
                                                         DISTRICT OF

        Frank Taddeo, et al.,
                                                                             SECOND AMENDED
                                                                            JUDGMENT IN A CIVIL CASE
                                           Plaintiffs,
                           V.
        American Invsco Corporation, et al.,                                Case Number: 2:12-cv-01110-APG-NJK

                                        Defendants.

  Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has d
d rendered its verdict.

  Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
d decision has been rendered.

  Notice of Acceptance with Offer of Judgment. A notice of acceptance with offer of judgment has been filed in this
d case.

   IT IS ORDERED AND ADJUDGED
that the Taddeos’ total award, including the jury verdict, attorney’s fees, prejudgment interest, and taxable costs is as
follows:

Against Koval:

$68,000 breach of contract damages
$304,424.00 fraudulent concealment damages
$456,636.00 punitive damages
$131,493.15 attorney’s fees
$17,400 prejudgment interest on the breach of contract claim
$90,989.41 prejudgment interest on the fraudulent concealment claim
$4,620.57 costs
$1,073,563.13 Total amount against Koval

Against American Invsco:

$304,424.00 fraudulent concealment damages
$456,636.00 punitive damages
$90,989.41 prejudgment interest on the fraudulent concealment claim
$4,620.57 costs
$856,669.98 Total amount against American Invsco




                        May 13, 2016                               /s/ Lance S. Wilson

 Date                                                               Clerk

                                                                   /s/ TR
                                                                    (By) Deputy Clerk
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                              EXHIBIT 3
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              15-16643,
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                  UNITED STATES COURT OF APPEALS
                                                                     FILED
                         FOR THE NINTH CIRCUIT
                                                                    MAY 05 2017
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                                                                     U.S. COURT OF APPEALS




FRANK TADDEO and AMELIA                       No. 15-16643
TADDEO,
                                              D.C. No. 2:12-cv-01110-APG-NJK
             Plaintiffs - Appellees,
                                              U.S. District Court for Nevada, Las
  v.                                          Vegas

AMERICAN INVSCO                               ORDER
CORPORATION,

             Defendant - Appellant,

and

NICHOLAS GOULETAS; et al.,

             Defendants.




FRANK TADDEO and AMELIA                       No. 15-16644
TADDEO,
                                              D.C. No. 2:12-cv-01110-APG-NJK
             Plaintiffs - Appellees,
                                              U.S. District Court for Nevada, Las
  v.                                          Vegas

KOVAL FLAMINGO, LLC,

             Defendant - Appellant,

and
 CaseCase
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        Case:
          2:12-cv-01110-APG-NJK
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 AMERICAN INVSCO
 CORPORATION; et al.,

               Defendants.




 FRANK TADDEO; et al.,                          No. 15-16751

               Plaintiffs - Appellants,
                                                D.C. No. 2:12-cv-01110-APG-NJK
   v.                                           U.S. District Court for Nevada, Las
                                                Vegas
 AMERICAN INVSCO
 CORPORATION,

               Defendant - Appellee,

 KOVAL FLAMINGO, LLC,

               Defendant - Appellee,

  and

 NICHOLAS GOULETAS; et al.,

               Defendants,

 AMERICAN INVSCO
 CORPORATION; et al.,

               Defendants.


        A review of the file in these cases reveals that counsel has failed to perfect

the appeal as prescribed by the Federal Rules of Appellate Procedure.

        Pursuant to Ninth Circuit Rule 42-1, these appeals are dismissed for failure

to file the consolidated and first cross appeal brief on appeal in these cases.
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        Case:
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Counsel for appellants is directed to notify immediately his/her clients in writing

regarding this dismissal.

         This order served on the district court shall constitute the mandate of this

court.

                                                 FOR THE COURT:

                                                 MOLLY C. DWYER
                                                 CLERK OF COURT

                                                 By: Estela Urrutia
                                                 Deputy Clerk
                                                 Ninth Circuit Rule 27-7
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                              EXHIBIT 4
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2AO450 (Rev. 5/85) Judgment in a Civil Case
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                                   UNITED STATES DISTRICT COURT
                                                                                               Nevada
                                                         DISTRICT OF

        Bruce Couturier, et al.,
                                                                          JUDGMENT IN A CIVIL CASE
                                           Plaintiffs,
                            V.
        American Invsco Corporation, et al.,                              Case Number: 2:12-cv-01104-APG-NJK

                                         Defendants.

  Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has d
d rendered its verdict.

  Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
d decision has been rendered.

  Notice of Acceptance with Offer of Judgment. A notice of acceptance with offer of judgment has been filed in this
d case.

   IT IS ORDERED AND ADJUDGED
that final judgment is entered in favor of defendants Koval Flamingo, LLC, American Invsco Corporation, and
Condominium Rental Services, Inc. and against the plaintiffs.




                     November 16, 2016                           /s/ Lance S. Wilson

 Date                                                             Clerk

                                                                 /s/ S. Denson
                                                                  (By) Deputy Clerk
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                              EXHIBIT 5
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 1                                UNITED STATES DISTRICT COURT
 2                                          DISTRICT OF NEVADA
 3                                                    ***
 4    BRUCE COUTURIER and ELEANOR                           Case No. 2:12-cv-01104-APG-NJK
      COUTURIER,-,
 5                                                          Consolidated (for discovery) with Case
                              Plaintiffs,                   Nos.:
 6                                                          2:12-cv-1106-APG-NJK
            v.                                              2:12-cv-1107-APG-NJK
 7                                                          2:12-cv-1108-APG-NJK
      AMERICAN INVSCO, et al.,                              2:12-cv-1110-APG-NJK
 8                                                          2:12-cv-1111-APG-NJK
                              Defendants.
 9
                                                            ORDER CERTIFYING SUMMARY
10                                                          JUDGMENTS AS FINAL AND
                                                            APPEALABLE
11

12          I previously entered summary judgment in favor of defendants Koval Flamingo, LLC,
13   American Invsco Corporation, and Condominium Rental Services, Inc. by the following orders:
14          2:12-cv-1104: ECF No. 222
15          2:12-cv-1106: ECF No. 180
16          2:12-cv-1107: ECF No. 179
17          2:12-cv-1108: ECF No. 178
18          2:12-cv-1111: ECF No. 169
19   The plaintiffs in these cases have asked me to certify my orders granting summary judgment as
20   final and appealable so they may pursue their appeals. Pursuant to Federal Rule of Civil
21   Procedure 54(b), there is no just reason to delay entry of judgment upon my prior orders.
22          IT IS HEREBY ORDERED that final judgment be entered in favor of defendants Koval
23   Flamingo, LLC, American Invsco Corporation, and Condominium Rental Services, Inc. and
24   against the plaintiffs in each of these cases.
25          DATED this 15th day of November, 2016.
26
                                                            ANDREW P. GORDON
27                                                          UNITED STATES DISTRICT JUDGE
28
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                              EXHIBIT 6
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